Case 5:17-cv-02514-JGB-SHK Document 231-3 Filed 12/10/19 Page 1 of 11 Page ID
                                  #:4635




                 EXHIBIT C
 Case 5:17-cv-02514-JGB-SHK Document 231-3 Filed 12/10/19 Page 2 of 11 Page ID
                                   #:4636
    DAVID J. VENTURELLA Volume I                                 June 13, 2019
    NOVOA vs THE GEO GROUP                                                   1

 1                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
 2                            EASTERN DIVISION

 3                  CIVIL ACTION NO. 5:17-cv-02514-JGB

 4    RAUL NOVOA and JAIME CAMPOS FUENTES,
      individually and on behalf of all
 5    others similarly situated,

 6                              Plaintiffs,
      vs.
 7
      THE GEO GROUP, INC.,
 8
                                Defendant,
 9                                                     /

10

11

12

13            VIDEOTAPED DEPOSITION OF DAVID J. VENTURELLA

14
                              VOLUME I, PAGES 1-146
15
                       THURSDAY, JUNE 13th, 2019
16              515 EAST LAS OLAS BOULEVARD, SUITE 1200
                        FORT LAUDERDALE, FLORIDA
17                       9:03 a.m. - 5:40 p.m.

18

19

20

21

22
      STENOGRAPHICALLY REPORTED BY:
23    VALERIE LEHTO, REGISTERED PROFESSIONAL REPORTER
      NOTARY PUBLIC, STATE OF FLORIDA
24    ESQUIRE DEPOSITION SERVICES
      FORT LAUDERDALE OFFICE
25




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 Case 5:17-cv-02514-JGB-SHK Document 231-3 Filed 12/10/19 Page 3 of 11 Page ID
                                   #:4637
    DAVID J. VENTURELLA Volume I                                 June 13, 2019
    NOVOA vs THE GEO GROUP                                                   2

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21   ALSO PRESENT:       FRANCES E. SIMKINS
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22                       DON SAVOY/VIDEOGRAPHER

23

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25




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 Case 5:17-cv-02514-JGB-SHK Document 231-3 Filed 12/10/19 Page 4 of 11 Page ID
                                   #:4638
    DAVID J. VENTURELLA Volume I                                 June 13, 2019
    NOVOA vs THE GEO GROUP                                                  20

1                 When is the most recent time you visited

2    Adelanto?

3           A.    I think in February of this year.

4           Q.    What brought you there?

5           A.    We had a series of visits scheduled throughout

6    the State of California and so we had just stopped by,

7    visited, said - said hello to our folks and just toured

8    around that facility as well as the Desert View

 9   facility.

10          Q.    Who's we?

11          A.    Myself, George Zoley, Kyle Schiller who is an

12   employee of the Operations Division, I think John

13   Christakis who's our Chief Medical Officer, our Regional

14   Vice-President.        There may have been a few other people

15   that attended as well.

16          Q.    Is the Regional Vice-President James Black?

17          A.    No.

18          Q.    Who is that?

19          A.    That is Paul Laird, L-a-i-r-d.

20          Q.    Thanks.

21                Is that a regular occurrence or an annual

22   occurrence where you go and tour these facilities or was

23   there some special reason why you were going there in

24   February of this year?

25          A.    As I stated, we had other meetings scheduled



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 Case 5:17-cv-02514-JGB-SHK Document 231-3 Filed 12/10/19 Page 5 of 11 Page ID
                                   #:4639
    DAVID J. VENTURELLA Volume I                                 June 13, 2019
    NOVOA vs THE GEO GROUP                                                  21

1    throughout the state and so since we were in - in the

2    State of California we decided to make that - that trip

3    out there.

4           Q.    How many times had you been there before going

5    in February?

6           A.    I would say at least once annually again

7    mostly to - to visit because we've had meetings or

8    conferences out there and so it's always good when

 9   you're in the area to stop by, say hello, see how things

10   are going.

11          Q.    If I understand the timeline of your

12   employment and the existence of Adelanto correctly, you

13   would not have been at DHS when GEO was operating

14   Adelanto, you would not have visited as a DHS official;

15   is that right?

16          A.    Correct.    I did not visit --

17          Q.    Okay.

18          A.    -- that facility.

19          Q.    And so every visit that you've taken has been

20   in your employment with GEO?

21          A.    To Adelanto?

22          Q.    Yes, sir.

23          A.    Correct.

24          Q.    Okay.    Great.

25                How long did you spend there?


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 Case 5:17-cv-02514-JGB-SHK Document 231-3 Filed 12/10/19 Page 6 of 11 Page ID
                                   #:4640
    DAVID J. VENTURELLA Volume II                                June 13, 2019
    NOVOA vs THE GEO GROUP                                                 147

 1                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
 2                            EASTERN DIVISION

 3                  CIVIL ACTION NO. 5:17-cv-02514-JGB

 4    RAUL NOVOA and JAIME CAMPOS FUENTES,
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14
                           VOLUME II, PAGES 147-315
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                                   #:4641
    DAVID J. VENTURELLA Volume II                                June 13, 2019
    NOVOA vs THE GEO GROUP                                                 148

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                         U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT
22                       DON SAVOY/VIDEOGRAPHER

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 Case 5:17-cv-02514-JGB-SHK Document 231-3 Filed 12/10/19 Page 8 of 11 Page ID
                                   #:4642
    DAVID J. VENTURELLA Volume II                                June 13, 2019
    NOVOA vs THE GEO GROUP                                                 154

1           Q.    Okay, have you had any communications with

2    anyone at ICE regarding the voluntary work program that

3    GEO operates at the Adelanto Detention Center?

4           A.    Not for the Adelanto Detention Facility, no.

5           Q.    Have you had any communications, lawyers or no

6    from ICE outside the presence of your counsel about the

7    voluntary work program lawsuits at other facilities?

8           A.    We've had -- Yes.       We've had communications

 9   with ICE about the - the other lawsuits.

10          Q.    Who's we?

11          A.    I'm sorry.     That would be myself, John Bulfin,

12   George Zoley, Amber Martin and Louis Carrillo.

13          Q.    With whom at ICE did you speak?

14          A.    We spoke to Tom Homan, Tom Blank, Mike Davis,

15   Mike Davidson and there was other individuals present,

16   but I don't recall who they were.

17          Q.    Was this one meeting or more than one meeting?

18          A.    That was one meeting.

19          Q.    What is Thomas Homan's position at ICE at the

20   time that you had these conversations?

21          A.    He was the Acting Director or Acting

22   Secretary.     I'm not sure which was -

23          Q.    For Immigration and Customs Enforcement?

24          A.    Correct.

25          Q.    How about Mr. Blank?



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                                   #:4643
    DAVID J. VENTURELLA Volume II                                June 13, 2019
    NOVOA vs THE GEO GROUP                                                 155

1           A.    He was the Chief of Staff.

2           Q.    When did that meeting occur?

3           A.    Sometime in 2018.

4           Q.    Where did it occur?

5           A.    At the ICE headquarters.

6           Q.    In Washington D.C.?

 7          A.    I'm sorry.     In Washington D.C.

8           Q.    What was the purpose of that meeting?

9           A.    To discuss our request for an equitable

10   adjustment regarding the legal expenses defending the

11   lawsuits regarding the voluntary work program that -

12   the violation of the trafficking laws.

13          Q.    Anything else?

14          A.    At that meeting?

15          Q.    Yes, sir.

16          A.    No.   It was the primary focus of the meeting.

17          Q.    Were there any secondary focuses?

18          A.    Not that I recall.

19          Q.    Were there any meetings after that meeting

20   that you had with any official at ICE?

21          A.    Regarding this lawsuit?

22          Q.    Yes, sir.

23          A.    No.

24          Q.    Or these - the voluntary work program

25   litigation?



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Case 5:17-cv-02514-JGB-SHK Document 231-3 Filed 12/10/19 Page 10 of 11 Page ID
                                  #:4644
   DAVID J. VENTURELLA Volume II                                 June 13, 2019
   NOVOA vs THE GEO GROUP                                                  211

1                THE VIDEOGRAPHER:       We are going off the video

2          record 2:24 p.m.

3                (Whereupon, there was a brief recess observed)

4                THE VIDEOGRAPHER:       We are back on the video

5          record 2:39 p.m.

6    BY MR. FREE:

7          Q.    Mr. Venturella, I'm going to hand you an

8    exhibit that we're marking as Number Fifteen.

 9               (Whereupon, Exhibit 15 was marked)

10   BY MR. FREE:

11         Q.    Have you seen this document before?

12         A.    I have not.

13         Q.    It appears to be a letter from Chairman and

14   CEO George Zoley of The GEO Group to Pete Edge, Acting

15   Deputy Director of ICE dated May 30th regarding the

16   equitable adjustment request that you sent on

17   February 14th, 2018.       Have I accurately characterized

18   what this letter looks like?

19         A.    Yes.

20         Q.    This is following up on your 20 - your letter

21   of February 14th, right?

22         A.    Yes.

23         Q.    Okay, were you involved in the April 18th

24   updated individual requests for equitable adjustments

25   out of Adelanto, Aurora and Tacoma that is reflected in



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                                  #:4645
   DAVID J. VENTURELLA Volume II                                 June 13, 2019
   NOVOA vs THE GEO GROUP                                                  212

1    this letter?

2           A.   No.

3           Q.   Okay, did you know that those updated

4    individual requests for equitable adjustments had been

5    submitted to ICE on behalf of GEO?

6           A.   I was not aware of their submittal, but

7    aware - I was aware that they were being prepared.

8           Q.   Okay, and how did you know that?

 9          A.   With counsel.

10          Q.   Okay, have you had any communications with

11   anyone at ICE about this letter?          I know you haven't

12   seen it before today, but --

13          A.   No.

14          Q.   Okay.

15          A.   Excuse me.

16          Q.   That's all right.

17               And do you know if anybody else at GEO has

18   followed up on this May 30th letter?

19          A.   I do not.

20          Q.   I'm going to show you Sixteen, Exhibit Sixteen

21   now.

22               (Whereupon, Exhibit 16 was marked)

23   BY MR. FREE:

24          Q.   This appears to be a letter dated June 21st,

25   2018 from U.S. Immigration and Customs Enforcement to



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